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                    HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


    Table 21: U.S. Indirect Open Web Display (Non-Video) Advertiser Buying Tool Spending
                                      Shares, 2019-2022
                                                                        Use exchange data to estimate
                                       From data productions             the size of other buying tools
                                  2019    2020      2021     2022     2019       2020      2021      2022
    DV360 & Google Ads            56%     55%       55%      53%      46%        45%       44%       40%
    Google Ads                    21%     23%       22%      21%      18%        19%       18%       16%
    DV360                         34%     32%       33%      32%      28%        26%       26%       24%
                                   4%      2%        2%       1%       3%         2%         1%       1%
                                   5%      5%        4%       5%       4%         4%         3%       4%
                                   3%      2%        2%       2%       3%         2%         1%       1%
                                   7%      6%        6%       6%       6%         5%         5%       4%
                                  17%     21%       22%      24%      14%        17%        18%      18%
                                   3%      3%        2%       2%       2%         2%         2%       2%
                                   5%      6%        6%       6%       4%         5%         5%       5%
    Other Buying Tools                                                18%        18%        21%      24%
    Sources: See Section X.A in the appendix




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